Case 3:10-cv-01138-PGS-LHG Document 92 Filed 04/13/12 Page 1 of 3 PageID: 3236




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 Attorneys for Defendant/Cross-Claim
 Plaintiff

                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
 SAM HARGROVE, ANDRE HALL, and
 MARCO EUSEBIO, individually and on Civil Action No. 10-01138-PGS-
 behalf of all others similarly situated,        LHG

                  Plaintiffs,
 vs.

 SLEEPY’S, LLC,                              (HONORABLE PETER G.
                  Defendant.                      SHERIDAN)


                                                  FILED VIA ECF

 SLEEPY’S, LLC,

                  Cross-Claim Plaintiff,
 vs.
                                              Returnable: May 7, 2012
 I STEALTH, LLC, EUSEBIO’S
 TRUCKING CORP., and CURVA
 TRUCKING, LLC,

                  Cross-Claim
                  Defendants.
Case 3:10-cv-01138-PGS-LHG Document 92 Filed 04/13/12 Page 2 of 3 PageID: 3237




     NOTICE OF DEFENDANT/CROSS-CLAIM PLAINTIFF SLEEPY’S,
             LLC’S MOTION FOR DEFAULT JUDGMENT
 TO: I Stealth, LLC
     c/o Samuel Hargrove
     20 Granby Lane
     Willingboro, New Jersey 08046

       Eusebio’s Trucking Corp.
       c/o Marco Eusebio
       15 Lincoln Street, Apt. 1
       Fairview, NJ 07022-2143

       Curva Trucking, LLC
       c/o Marco Eusebio
       15 Lincoln Street, Apt. 1
       Fairview, NJ 07022-2143

       ANTHONY L. MARCHETTI
       Marchetti Law, P.C.
       900 N. Kings Highway, Suite 306
       Cherry Hill, NJ 08034

       Attorney for Plaintiffs Sam Hargrove, Andre Hall, and Marco Eusebio

       PLEASE TAKE NOTICE that the undersigned attorneys for

 Defendant/Cross-Claim Plaintiff Sleepy’s, LLC (“Sleepy’s”) will move before the

 United States District Court for the District of New Jersey, Clarkson S. Fisher

 Building & U.S. Courthouse, 402 East State Street, Trenton, New Jersey, before

 the Honorable Peter G. Sheridan on May 7, 2012 at 10:00 a.m., or as soon

 thereafter as counsel may be heard, for entry of default judgment pursuant to Rule

 55(b)(2) of the Federal Rules of Civil Procedure.




                                          -2-
Case 3:10-cv-01138-PGS-LHG Document 92 Filed 04/13/12 Page 3 of 3 PageID: 3238




       PLEASE TAKE FURTHER NOTICE that, in support of the Motion

 herein, the undersigned attorneys for Sleepy’s will rely on the Certification

 attached at Exhibit 1. In addition, pursuant to L. Civ. R. 7.1(d)(4), counsel for

 Sleepy’s states that no brief in support of the foregoing Motion is necessary

 because no novel or complex factual or legal issues are raised therein and the law

 and facts necessary for the resolution of said Motion are within the sound

 discretion of the Court.

       PLEASE TAKE FURTHER NOTICE that a proposed form of Order is

 attached hereto.

       PLEASE TAKE FURTHER NOTICE that oral argument is not requested

 unless timely opposition is filed.

                                             Respectfully submitted,


                                             /s Elizabeth Tempio Clement
                                             Kimberly J. Gost
                                             Theo E.M. Gould
                                             Matthew J. Hank
                                             Elizabeth Tempio Clement
                                             LITTLER MENDELSON, P.C.
                                             THREE PARKWAY
                                             1601 Cherry Street, Suite 1400
                                             Philadelphia, PA 19102.1321

                                             Attorneys for Defendant/Cross-Claim
 Date: April 13, 2012                        Plaintiff Sleepy’s, LLC




                                          -3-
